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FILED-CLERK

UNITED STATES DISTRICT COURT WS, DISTRICT Cour}
EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION 201 JUL 19) PM &: 27
TEXAS-EASTERN
David E Mack ns
Plaintiff OY
Case No. 4:11C€V343
VS

Palisades Collection, LLC et al
Defendants

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MOTION FOR ENTRY OF DEFAULT JUDGMENT

TO THE HONORABLE JUDGE OF THIS COURT:
The Plaintiff, David E Mack, comes before this Court with this Motion for Entry of

Default Judgment against Defendant Michael J. Scott and states as follows:

1. Plaintiff has made all filings required of this Court to bring a cause of action against the
Defendant, Michael J. Scott, for damages under the Fair Debt Collection Practices Act.

2. Plaintiff has made proper service of the summons and Complaint through the United
States Marshals to Defendant, Michael J. Scott, as evidenced by the affidavit of Plaintiff.

3. The time for the Defendant to respond is past and he has made no response to the
service of summons and Complaint in this matter and is therefore in default.

4, Plaintiff has made a Request for Clerk’s Entry of Default Judgment.

WHEREFORE, the Plaintiff respectfully requests the entry of a Default Judgment

against the Defendant, Michael J. Scott, in this matter be granted by this Honorable Court.
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Respectfully Submitted,

   

David E Mack
7720 McCallum Blvd. # 2099
Dallas, Texas 75252
972-735-9642
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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the document above was sent to Defendant
listed below by first class mail USPS.

Michael] J. Scott
1120 Metrocrest Drive Suite 100
Carrollton, Texas 75006

Dated July 19, 2011

   

David E Mack
